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             UNITED STATES DISTRICT COURT
             FOR THE DISTRICT OF COLORADO
             -----------------------------------------------------X
             GRANITE SOUTHLANDS TOWN CENTER, LLC
                                                                      09 CV 799 (SJ)
                                       Plaintiff,
                                                                      MEMORANDUM
                     -v-                                              AND ORDER

             ALBERTA TOWN CENTER and
             LAND TITLE GUARANTEE COMPANY.
                                        Defendants.
             -----------------------------------------------------X
             A P P E A R A N C E S:

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             JOHNSON, Senior District Judge:

                      Presently before the Court is a contract dispute between Granite Southlands

             Town Center, LLC (“Plaintiff” or “Granite”) and Alberta Town Center, LLC

             (“Defendant” or “Alberta”). The matter came before the Court on a bench trial held on

             February 14, 2011. 1 In dispute is which party is entitled to the $650,000 plus accrued

             interest that had been placed in escrow pursuant to the purchase and sale of a large

             commercial property in Aurora, Colorado.                   Faced with conflicting claims for the

             amount in escrow, the escrow agent, Land Title Guarantee (“Land Title” or the

             “Escrow Agent”), refused to release the funds to either Granite or Alberta. 2

             Consequently, Granite filed suit against Alberta and added Land Title as a nominal

             defendant. 3     After the trial both parties submitted proposed findings of fact and

             conclusions of law. Upon consideration of the evidence presented at the bench trial

             and the entire record, including the exhibits submitted, the Court makes the following

             Findings of Fact and Conclusions of Law.

             1
              The bench trial followed the denial of Alberta’s motion for partial summary judgment by United States
             District Judge Weinsheink. (See Docket Entry (“DE”) 107, J. Weinsheink’s Order, dated Feb. 9, 2010.)
             Testifying on behalf of Granite were: Christopher C. Silva (“Silva”), an employee of Blackrock; Land
             Title executive, Thomas Blake (“Blake”); Peter M. Cudlip (“Cudlip”), a partner at Alberta; and Angela
             Kravolec (“Kravolec”). Testifying on behalf of Alberta was Donald Provost (“Provost), a partner at
             Alberta.
             2
              Plaintiff’s (“Pl.’s”) Exhibit (“Ex.”) 36 (letter from Land Title to the parties dated Marc. 6, 2009); see
             also Trial Transcript (“Tr.”) 137 (Blake Testimony).
             3
              Granite filed its Original Complaint against Alberta on April 8, 2009, seeking a declaratory judgment
             that it is entitled to the escrowed funds as well as damages in form of attorneys’ fees and cost. On
             September 19, 2009, Granite amended the complaint to add fraudulent claims against Alberta’s
             principals. Those claims were dismissed by Judge Weinshienk on December 29, 2009, and the principals
             are no longer parties in this action. (DE 85 Judge Weinsheink’s Order, dated Dec. 29, 2009 (“J.
             Weinsheink’s December 29 Order.”)

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                                                                    I.

                                                     FINDINGS OF FACT


             1. On September 22, 2005, Granite and Alberta executed a Forward Purchase and
                Sale Agreement (“the FPSA”) 4 for a 450,000-square-foot two-story retail shopping
                center located in Aurora, Colorado known as the Southlands Town Center (the
                “Property”). 5 At that time, the Property was still under development and the FPSA
                was meant to serve as a means to finance the construction of the Property. The
                parties initially expected to close on the transaction shortly after construction of the
                Property was completed in October 2006. Due to financing issues, however, the
                closing was extended to December 12, 2008 (the “December Closing Date”). 6

             2. Section 8.1(k)(i) of the FPSA required Alberta to execute and deliver to Granite, as
                a precondition or condition precedent to Granite’s obligation to close, certain
                “tenant estoppel certificates” by which the tenants of the Town Center would
                warrant certain information about their leases. 7 Specifically, under Section
                8.1(k)(1) Alberta was required to deliver estoppels from any individual tenant
                “occupying more than 10% of the rentable square feet” of the Property, and
                collectively from tenants “who together occupy at least 75% of the total number of
                rentable square feet . . . . (collectively, the ‘Required Estoppels’).” 8




             4
              DE 126, Stip at 8; see also Pl.’s Ex. 1, FPSA; Tr. 54 (Silva Testimony); Tr. 150 (Blake Testimony). As
             Silva explained, a Forward Purchase and Sale Agreement governs the purchase of a property at a later
             date. Like all futures contracts, one of the advantages of such an arrangement is that it allows the buyer
             the ability to set the price at the time of contracting, with the hopes that the value of the property would
             appreciate before the buyer actually acquires title. (Tr. 57, 86.)
             5
              DE 126, Final Pretrial Order, Stipulation (“Stip.”) at 8; Tr. 42, 67 (Silva Testimony); Tr. 142 (Provost
             Testimony).
             6
                 Pl.’s Ex. 14, FPSA, Fourteenth Amendment; Tr. 166 (Provost); Tr. 215 (Cudlip Testimony).
             7
               DE 126, Final Pretrial Order Stip. at 8; Pl.’s Ex. 1, FPSA, Article VIII, Buyer’s Conditions Precedent
             to Closing, § 8.1(k)(i); see also Tr. 10, 206 (Cudlip Testimony).
             8
                 Pl’s Ex. 1, FPSA, Article VIII, Buyer’s Conditions Precedent to Closing, § 8.1(k)(i) (emphasis added).


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             3. The FPSA further specified that the Required Estoppels were to be in the form
                attached to the FPSA as Exhibit H (the “Required Form”). 9 The Required Form
                includes, in relevant part, the following four delineated paragraphs:

                        4.   Tenant is currently obligated to pay annual base rental in monthly installment of $___ per
                             month and monthly installments of annual base rental have been paid through. . . . Tenant
                             has no claim or defense against Landlord under the Lease and is asserting no offsets or
                             credit against rent or additional rent. Tenant has not claim against Landlord for any
                             security deposit or other deposit except $___ which security deposit was paid pursuant to
                             the Lease.
                        5.   Landlord has performed all of its obligations, if any, required to have been performed by
                             Landlord prior to the date hereof under the Lease, including, if required under the Lease,
                             making any repairs required to be made by Landlord. . . .
                        6.   There is no existing defense, offset, lien or claim or counterclaim by or in favor of the
                             undersigned or of Landlord under the Lease or against the obligations of the undersigned
                             under the Lease . . . and Tenant is not contesting any such obligations, rentals or charges.
                        7.   There is no default now existing on the part of the undersigned or of the Landlord under the
                             Lease, and there is no event which with notice or the passage of time or both would
                             constitute a default of the undersigned or of Landlord under the Lease. 10

             4. Pursuant to its duty under the FPSA to secure tenant estoppel certificates within 30-
                days of the closing date, Alberta secured a set of tenant estoppel certificates in
                preparation for the May 2008 closing (the “2008 Estoppels”). 11 The parties later
                agreed to further postpone the closing date to December 15, 2008, with the
                understanding that Alberta would secure updated tenant estoppels for the December
                Closing Date. 12

             5. Prior to the December Closing Date, in November 2008, Alberta attempted to
                deliver the identical 2008 Estoppels to Granite. Granite rejected those estoppels on
                the grounds that the certificates were more than six-months old.13 Due to financing

             9
              Pl.’s Ex. 1, FPSA Article VII, Construction of the Buildings Other Seller’s Covenants; Other Seller
             Covenants at § 7.2 (i).
             10
                 Pl.’s Ex. 46, FPSA, Ex. H.
             11
                  Tr. 9, 10; Pl.’s Ex. 24, Cinema’s May 2008 Estoppel Certificate (the “2008 Cinema Estoppel”).
             12
                  Pl.’s Ex. 1, FPSA, 14th Amendment.
             13
               Tr. 6 (Silva Testimony). Sometime in November 2008, Granite informed Alberta that it was no longer
             interested in pursuing structured debt financing to close on the transaction, and wanted to execute a

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                    issues, however, the parties could not further postpone closing and decided to
                    proceed with the closing even when it became clear that Alberta would not be able
                    to timely deliver updated tenant estoppels Granite for the December Closing Date.

             6. Even though the parties had to move forward with the closing, they amended the
                FPSA on December 8, 2008 to address the issue of stale estoppels: the Fifteenth
                Amendment to Amendment and Agreement and Termination Agreement (the
                “Fifteenth Amendment”). 14 The parties agreed, as part of the Fifteenth
                Amendment, to place $650,000 of the closing funds into an escrow account
                maintained by an escrow agent. Alberta, in turn, was obligated to provide updated
                estoppels on or before March 1, 2009. 15

             7. The Fifteenth Amendment provided Granite with the right to object to any tenant
                estoppel certificate if such certificate:

                        is not in the form required under Section 7.2(i) or has been materially and adversely modified
                        from that form, or (ii) indicates the continuing existence of an actual material default of the
                        landlord under the applicable Lease, or (iii) correctly indicates that the Lease includes terms and
                        provisions that are inconsistent with the Approved Leasing Guidelines or terms and provision
                        that are inconsistent with the applicable lease delivered to Buyer by delivering a written notice
                        of objections. . . . 16


             8. However, the Fifteenth Amendment also restrained Granite’s ability to object to a
                delivered tenant estoppel, providing in relevant part:

                        Buyer may not object to . . . .“[a]ny Tenant Estoppel Certificate delivered to Buyer on or after
                        the date that is 30 days before the Closing Date for a Tenant Estoppel Certificate that is
                        substantially similar to the Tenant Estoppel Certificate for that tenant executed in or about May
                        2008 and previously delivered to Buyer. 17


             straight purchase of the asset pursuant to the FPSA (Tr. 170–71, Provost Testimony).
             14
                  DE 126, Stip at 8; see also Pl.’s Ex. 17 at 17a-001, Fifteenth Amendment, Recitals at ¶ A.
             15
              DE 126, Final Pretrial Order, Stip. at 9.
             16
                  Pl.’s Ex. 17, Fifteenth Amendment of the FPSA, § 2(c) at 17a-003.
             17
               Id. Alberta, in its motion for partial summary judgment submits that the 2009 Cinema Estoppel at
             issue here was substantially similar to the 2008 Cinema Estoppel. In denying the motion, J. Weinsheink
             considered and rejected this claim, and this Court does not disturb her findings. (DE 107, J.

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             9. With respect to the $650,000 to be placed in escrow, the Fifteenth Amendment,
                provides in relevant part:

                        “If, prior to the Closing date, Seller object fails to deliver the Required Estoppels, (x) Seller
                        shall be obligated to continue to use commercially reasonable efforts to obtain the Required
                        Estoppels after the Closing, and (y) Escrow Holder shall retain Six Hundred Fifty Thousand
                        and No/100 Dollars ($650,000.00) of the Excess Funds at Closing (“Estoppel Holdback”). . . .
                        Upon Seller’s delivery of the Required Estoppels to Buyer, Buyer shall instruct Escrow Holder
                        by written notice to Escrow Holder to deliver the Estoppel Holdback to Seller. . . . and (ii)
                        should Seller fail to deliver the Required Estoppels to Buyer . . . on March 1, 2009, Buyer and
                        Seller agree Escrow Holder Shall Deliver the Entire Estoppel Holdback to Buyer upon written
                        notice to Escrow Holder from Buyer , and the amount of the Estoppel Holdback shall be
                        deemed to have been forfeited by Seller. 18


             10. On the December Closing Date, Granite and Alberta executed a Release and
                 Termination Agreement which expressly provided that “notwithstanding anything
                 to the contrary contained herein, any obligations of the Parties under the following
                 agreements are expressly not released or waived” inclusive of Alberta’s obligation,
                 under Section 8.1(k) of the FPSA, to deliver tenant estoppel certificates, at or after
                 the closing, dated within 30 days of the closing of the Town Center. 19

             11. On the December Closing Date, pursuant to the terms of the Fifteenth Amendment,
                 Alberta and Granite, along with Land Title, also executed an escrow agreement (the
                 “Escrow Agreement”), which provides that “Upon Alberta’s delivery of the
                 Required Estoppels to Granite, Granite shall instruct Escrow Holder by written
                 notice to deliver the Cash Funds to Alberta. . . . 20 The Escrow Agreement also
                 provides that the “Escrow Agent shall disburse Cash Funds in accordance with the




             Weinsheink’s Feb. 09, 2010 Order at 7–9.) Thus, as explained more fully in Part II below, to the extent
             that Alberta’s defense to this action is that the 2009 Cinema Estoppel’s reference to a cracked foundation
             is not material because the Cinema’s 2009 is “substantially similar,” to the Cinema’s 2008 certificate,
             this Court rejects it.
             18
              Pl.’s Ex. 17, the Fifteenth Amendment, § 4.1 Purchase Price at 17a-004.
             19
                  Pl.’s Ex. 18, Release and Termination Agreement at 005; Tr. 61 (Silva Testimony).
             20
              Pl.’s Ex. 20, the Escrow Agreement, § 3.2 Disbursement of Cash Funds and Holdback at 20-003.


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                    final order, judgment or decree of any court of competent jurisdiction which may
                    be filed, entered, or issued.” 21

             12. Before the March 1, 2009 deadline, Alberta timely delivered to Granite eighty-five
                 (85) tenant estoppels covering for tenants that together occupy at least 75% of the
                 total number of rentable square feet, and including an updated tenant estoppel from
                 the Colorado Cinema Group, LLC (the “Cinema”)—the only Town Center tenant
                 occupying more than 10% of the rentable square footage of the Property (the “2009
                 Cinema Estoppel”). 22

             13. Granite timely objected to nine (9) of these delivered tenant estoppels—among
                 which was the 2009 Cinema Estoppel—on the grounds that said estoppels were not
                 “[i]n accordance with Section 8.1(k)(ii) of the FPSA,” and “for reasons apparent
                 from the face of the certificates.” 23 The Cinema’s Estoppel is the only disputed
                 estoppel at issue here because it is the only tenant that leases more than 10% of the
                 rentable square footage, and with respect to the balance of the eight, Alberta has
                 complied with the 75% threshold of delivering tenant estoppels regardless of
                 whether they are accepted or not. 24

             14. The 2009 Cinema Estoppel included language that discloses to Granite for the first
                 time the existence of a cracked foundation and structural defects in the portion of
                 the Property that Cinema leases. 25

             15. Alberta was aware of Cinema’s concerns as early as six-months prior to closing,
                 and had, in fact, hired engineers and lawyers to investigate and address the issue. 26

             21
                  Id. at §3.3 Court Order.
             22
               DE 126, Final Pretrial Order, Stip at 10; Pl.’s Ex. K, letter from Alberta to Granite (providing notice of
             the delivery of the Required Estoppels); Pl.’s Ex. 23, the 2009 Cinema Estoppel.
             23
               Pl.’s Ex. 30, email from Granite’s counsel to Alberta’s counsel dated Feb. 24, 2009 (objecting to nine
             tenant certificates; Pl.’s Ex. 34, email from Granite’s counsel to Alberta’s counsel dated Marc. 3, 2009
             (explaining that it was rejecting estoppels for the reasons permitted by the FPSA).
             24
              The “at least 75%” requirement is not at issue in present dispute. (See DE 107, J. Weinsheink’s
             December Order at FN1.
             25
                  Pl.’s Ex. 23, the 2009 Cinema Estoppel.
             26
                  Tr. 187, 204, 222–24, 229 (Cudlip Testimony); Tr. 237 (Kralovec Testimony); Def.’s Ex. 116-004

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             16. Other provisions of the FPSA raised by the parties include the following:

                    (i) Section 5.1 of the FPSA specified that “Buyer acknowledges, understands and
                            agrees . . . (iii) except as expressly set forth herein and except for those
                            warranties expressly set forth, or implied by law, in the Deed or other
                            documents, delivered to at the Closing, the Property is being sold to Buyer
                            on the Closing date in its then ‘AS IS, WHERE IS’ condition,” with all
                            faults. 27
                    (ii) Furthermore, Section 5.3(c) also specified that “Buyer’s right to access the
                            Property and perform additional test and inspections is in no way to be
                            inferred or interpreted as Buyer’s right to prohibited Granite from
                            terminating the agreement “as a result of any matter related to the condition
                            of the Property.” 28
                    (iii)Section 7.2(f) of the FPSA addressed Alberta’s obligations to Granite in the
                            event of a “Change in Condition” providing, “Seller shall promptly notify
                            Buyer of any change in any condition with respect to the Property or any
                            portion of thereof or of any event or circumstance of which Seller has
                            knowledge subsequent to the date of this Agreement which (a) makes any
                            representation or warranty of the Seller to Buyer under this Agreement
                            untrue or misleading, or (b) makes any covenant or agreement of Seller
                            under this Agreement incapable of being performed.” 29

             17. In this action, Granite contends that the 2009 Cinema Estoppel materially and
                 adversely diverges in from the FPSA’s Required Form. Furthermore, in its
                 divergence, it discloses for the first time a cracked foundation and structural

             and Pl.’s Ex. 47-001 (email between Alberta employees discussing request of Ground Engineering
             “research a sonar study of the cinema foundations,” dated June 20, 2008); Pl. Ex. 42 (letter from Ground
             to Alberta on foundations research, dated Sept. 8, 2008); Pl.’s Ex. 56 (Town Center requesting proposals
             for engineering services related to some of the cinema’s structural issue, dated Nov. 19, 2008); Pl.’s Ex.
             65 (letter from Alberta’s counsel to Cinema’s counsel disputing responsibility for cracked foundation,
             dated Dec. 18, 2008).
             27
                  Pl. Ex. 1, FPSA, Article V, Inspection, §5.1.
             28
                  Pl.’s Ex. 1, FPSA, Article V, Inspection, §5.3(c).
             29
                  Pl.’s Ex. 1, FPSA, Article VII, Construction of the Buildings; Other Seller Covenants, §7.2(f) at 023.


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                    defects, exposing Granite to potential claims by the Town Center’s anchor tenant—
                    thus depriving Granite of the very protection it had bargained for under the terms of
                    the Fifteenth Amendment and the Escrow Agreement.

             18. Alberta contends that Granite had no right to object to the estoppel because Granite
                 was aware of the cracked foundation issue ahead of the closing which, in any event,
                 is not a material issue because it is not an actual landlord default. 30 Alberta also
                 asserts that the Estoppel Holdback was not meant to protect Granite against future
                 tenant claims in the event that Alberta failed to deliver valid or “clean” tenant
                 estoppels. Rather, Alberta maintains, the Estoppel Holdback’s only purpose was to
                 ensure timely delivery of the Required Estoppels, which Alberta has undisputedly
                 done, and hence it should prevail in this action. 31

                                                          II.
                                                  CONCLUSIONS OF LAW

                        The sole claim before this Court is for a breach of contract based on the parties’

             conflicting interpretations of the FPSA as it pertains to the issue of whether the 2009

             Cinema Estoppel fulfilled Alberta’s obligations under the FPSA. The parties do not

             dispute that Colorado contract law applies.

                        “Under Colorado law, contracts should be interpreted consistently with the

             well-established principles of contractual interpretation.” Level 3 Communications,

             LLC v. Liebert Corp., 535 F.3d 1146, 1154 (10th Cir.) (citing Allstate Ins. Co. v.

             Huizar, 52 P.3d 816, 819 (Colo.2002). “A court’s primary obligation is to effectuate

             the intent of the contracting parties according to the plain language and meaning of the

             contract.” Albright v. McDermond, 14 P.3d 318, 322 (Colo. 2000).                          “Absent an

             30
               Def.’s Ex. 66 (email from Cudlip to Provost stating that Granite was aware of the cracked foundation,
             dated Feb. 24, 2009).
             31
                  Tr. 28, 29, 171 (Provost Testimony).

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              indication the parties chose to deviate from plain meaning, the instrument’s language

              must be examined and construed in harmony with the plain and generally accepted

              meaning of the words used. In other words, common usage prevails, and strained

              constructions should be avoided.”       Level 3, 535 F.3d at 1154.       As a rule, the

              interpretation of contract and whether it is ambiguous are both a question of law. Pub.

              Serv. v. Meadow Island Ditch Co. No. 2, 132 P.3d 333, 339 (Colo. 2006). A contract

              is ambiguous if it is “reasonably susceptible to more than one interpretation,” and parol

              or extrinsic evidence is conditionally admitted to determine whether it is ambiguous.

              Level 3, 535 F.3d at 1155.

                     As an initial matter, the Court rejects Alberta’s argument that Granite could not,

              per the parties’ Closing Agreement, properly object to the 2009 Cinema Estoppel

              because it was “substantially similar” to the 2008 estoppel provided by the Cinema. As

              noted in footnote 17, supra, Judge Weinsheink has already found that the 2008 and

              2009 Cinema estoppels are not “substantially similar.” It follows then that the Closing

              Agreement does not control.

                     Here, there is no dispute that as provided for in FPSA Section 8.1(k)(ii),

              Granite could properly object to the 2009 Cinema Estoppel is if the estoppel:

                       (1) is not the form required by Exhibit H of the FPSA or has been materially
                   and adversely modified from that form;
                       (2) indicates the continued existence of an actual material default of the
                   landlord under the applicable lease; or
                       (3) correctly indicates that the tenant’s lease includes terms and provisions
                   inconsistent with the lease delivered to Granite.



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                      Thus, under the common sense meaning of the word “or” Granite was well

              within its rights to object if just one of the above conditions were met.

                      The purpose of the tenant estoppels was to protect Granite from potential

              claims from tenants. A review of Paragraphs 4–7 of Exhibit H, as noted more fully in

              paragraph 3 of the Court’s fact findings, shows that Granite wanted tenants to warrant,

              in sum: (i) that the tenant had no existing claim or defense against the landlord under

              the existing lease; (ii) that the landlord had perform all of its obligations; (iii) that the

              tenant had no defense, offsets, and claims against a new landlord, and (iv) did not

              know of any existing default or event that could constitute default in the future.

                      Based upon the Court’s fact findings, the Court concludes that disclosure of the

              Cinema’s cracked foundation was both “material” and “adverse.” First, there is no

              question that the 2009 Cinema Estoppel was modified from the Required Form in at

              least four (4) ways—the most significant of which being the disclosure of the Cinema’s

              cracked foundation and structural defects, which exposes Granite to potential claims of

              liability by the Property’s anchor tenant. The parties negotiated the Tenant Estoppel in

              the original FPSA and the provision survived the numerous amendments to the

              FPSA—indicating the importance that clean tenant estoppels played in the closing of

              the transaction. 32 Exposure to potential claims such as a tenant’s assertion that the


              32
                The Court specifically credited Silva’s testimony that the purpose of the estoppel was to provide
              “some security in the event that there was a problem with some of these estoppels (Tr. 66), and found
              Provost’s testimony that a cracked foundation would not material to him as a buyer, is simply not
              credible. (Tr. 181–82, 192.)


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              building itself is faulty deprives Granite of the very protection it bargained for in the

              original Tenant Estoppel, and in the subsequent Estoppel Holdback—potential tenant

              claims for problems that existed prior to closing. 33 See Level 3, 535 F.3d at 1154

              (stating that “in construing a contract courts must also ‘consider the subject matter, the

              object of making it, the sense in which the parties naturally understood it at the time it

              was made, and the purposes and objects to be accomplished thereby. . . .’” (quoting

              Total Petroleum, Inc. v. Farrar, 787 P.2d 164, 167 (Colo. 1990)).

                       Alberta contends that the 2009 Cinema Estoppel provides only notice of an

              incomplete investigation concerning which party is responsible for repairing cracks in

              the Cinema building foundation, rather than notice of an existing landlord default.

              Specifically, Alberta argues that under the express terms of the separate lease

              agreement between the Cinema and Alberta, it is the Cinema that is financially

              responsible for repairs to the Cinema building; Alberta thus has no obligation to repair

              the Cinema’s cracked foundation.

                       The record shows, however, that there is a genuine difference of opinion

              between the Cinema and Alberta concerning who is ultimately liable for the Cinema’s

              foundation problems. For example, while there is evidence in the record that Alberta

              believed that that the Cinema bore the duty for any structural defects, the record also



              33
                Silva testified that the Cinema is by far the Town Center’s largest tenant as it occupies 72,000 square
              feet of the 420,000 square feet of the Property, and its lease, which ran until 2026, generated nearly two
              million dollars in annual revenue for the landlord. (Tr. 7, 14, 15, 10, 59.)


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              shows that the Cinema contested this position. 34                    Furthermore, notwithstanding

              Alberta’s claims, the record also shows that Alberta nevertheless took steps to

              investigate the issue and retained legal counsel in connection with this dispute with the

              Cinema. 35 Having already retained legal counsel in its dispute with the Cinema, the

              Court’s must reject Alberta’s position that the cracked foundation immaterial.

              Whatever the ultimate merits of a potential claim against Granite by the Cinema,

              Granite will still have to defend it. This expenditure of resources on a tenant condition

              existing prior to the December Closing Date, even if Granite ultimately prevails, is

              precisely what the tenant estoppels provision in the FPSA intended.

                       The Court also rejects Alberta’s arguments that other provisions of the FPSA

              overcome the validity of Granite’s objections to the 2009 Cinema Estoppel.

              Specifically, Alberta contends that the disclosure of the cracked foundation was not

              material or adverse because: (i) Granite had an unconditional duty to close pursuant to

              the FPSA’s “AS IS, WHERE IS” and termination provisions—which bar Granite from

              terminating the deal based upon the condition of the Property; (ii) Alberta did not make



              34
                Def.’s Exs. 49–51; Pl.’s Ex. No. 39-001 (email from the Cinema to Alberta stating that it was the
              Cinema’s position that the cracked foundation “is the responsibility of the landlord to correct,” dated
              Sept. 16, 2008.)
              35
                Tr. 187, 204, 222–24, 229 (Cudlip Testimony); Tr. 237 (Kralovec Testimony); Def.’s Ex. 116-004 and
              Pl.’s Ex. 47-001 (email between Alberta employees discussing request of Ground Engineering “research
              a sonar study of the cinema foundations,” dated June 20, 2008); Pl. Ex. 42 (letter from Ground
              Engineering to Alberta on its foundations research on the Property, dated Sept. 8, 2008); Pl.’s Ex. 56
              (Town Center requesting proposals for engineering services related to some of the cinema’s structural
              issue, dated Nov. 19, 2008); Pl.’s Ex. 65, (letter from Alberta’s counsel to Cinema’s counsel disputing
              responsibility for cracked foundation, dated Dec. 18, 2008).


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              any representations or warranties to Granite concerning the condition of the Property;

              (iii) the FPSA provides Granite with a defense if a defect exists because Granite

              purchased from Alberta all the relevant warranties and guarantees from third-parties

              who participated in the construction of the Property; and (iv) finally, in any event,

              Granite was well aware of the cracked foundation issue. 36

                      The Court finds none of these contentions persuasive. First, Alberta’s reliance

              on As Is/Where Is and termination provisions of the FPSA is misplaced.             Those

              provisions operate to constrain Granite from suing Alberta post-closing with respect to

              the condition of the Property. They do not directly bear on the operative issues here:

              namely, Alberta’s obligation and failure to deliver updated Required Estoppels wherein

              tenants affirm, among other things, that there were no existing issues or potential

              claims/defenses against the landlord; and Granite’s remedy for Alberta’s failure to do

              so. It follows then that Court is bound to construe the As Is/Where Is and termination

              provisions in harmony with the controlling Fifteenth Amendment of the FPSA and the

              Escrow Agreement. See Pepcol Mfg. Corp. v Denver Union Corp., 687 P.2d 1310,

              1313–14 (Colo. 1984) (an integrated contract in the first instance is to be interpreted in

              its entirety with the end view of seeking to harmonize and to give effect to all

              provisions so that none will be rendered meaningless); see also Level 3, 535 F.3d at

              1154 (noting that is a general principle of contract interpretation that “while every

              relevant provision must be considered and given effect, ‘a more specific provision


              36
               Tr. 50, 162 (Provost Testimony).

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              controls the effect of general provisions.’”) ((citing E-470 Pub. Highwayu Auth. v.

              Jagow, 30 P.3d 798, 801 (Colo. Ct. App. 2001) aff’d, 49 P.3d 1151 (Colo. 2002)).

                      Second, concerning Alberta’s argument on Granite’s potential remedies and the

              lack of actual landlord default, even assuming the warranties/guarantees Granite

              assumed under the FPSA would ensure a successful defense of a potential claim for the

              Cinema’s structural problems, the time and expense of defending against a problem

              that existed prior to the December Closing Date is not what Granite bargained for.

                      Finally, concerning Alberta’s claim of Granite’s knowledge of the cracked

              foundation, the record shows that Alberta was aware of the cracked foundation at least

              six-months prior to the December Closing Date. While Alberta might have conveyed

              this information to Granite’s representatives orally, there is simply no evidence in the

              record that Alberta ever provided Granite with notice of this issue. 37

                      Accordingly, the Court finds that the 2009 Cinema Estoppel modified in

              “material” and “adverse” ways from the Required Form. As such, Granite was not

              required to accept the 2009 Cinema Estoppel, and is entitled to the funds in escrow.




              37
               Tr. 73 (Silva Testimony); Tr. 204, 229 (Cudlip Testimony); Tr. 230–31, 236–37 (Kralovec
              Testimony).

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                                                   CONCLUSION

                     Based on the foregoing, the Court finds in favor of Granite on its breach of

              contract claim. Accordingly, it is

                     ORDERED that the Clerk of Court shall enter judgment in favor of Plaintiff
              Granite Southlands Center, LLC and against Defendant Alberta Town Center, LLC.


              This ruling makes it unnecessary to discuss any other issues raised by the parties.




                     SO ORDERED.

              DATED:         September 02, 2011                    __________/s/____________
                             Brooklyn, New York                     Sterling Johnson, Jr. U.S.D.J.




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              UNITED STATES DISTRICT COURT
              FOR THE DISTRICT OF COLORADO
              -----------------------------------------------------X
              GRANITE SOUTHLANDS TOWN CENTER, LLC
                                                                       09 CV 799 (SJ)
                                        Plaintiff,
                                                                       MEMORANDUM
                      -v-                                              AND ORDER

              ALBERTA TOWN CENTER and
              LAND TITLE GUARANTEE COMPANY.
                                         Defendants.
              -----------------------------------------------------X
              A P P E A R A N C E S:

              FULBRIGHT & JAWARSKI LLP
              370 Seventeenth St. 600 Congress Ave., Suite 2150
              Denver, CO 80202
              By:    Osborne J. Dykes, III
                     Benjamin M. Vetter
                     Windy B. McCracken

              600 Congress Ave., Suite 2400
              Austin, TX 78701
              By:    Paul Trahan
              Counsel for Plaintiff

              Attorneys for Plaintiff

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              By:    Stephen L. Waters
                     Kimberly A. Bruetsch

              Attorneys for Defendant Land Title Guarantee

              JONES & Keller, P.C.
              1999 Broadway, Suite 3150
              By:   Stuart N. Bennett
                    Kenneth B. Danielsen

              Attorney for Defendant Alberta Town Center, LLC
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              JOHNSON, Senior District Judge:

                                                  ADDENDUM

              The Court issues the following addendum to its Memorandum and Order dated

              September 02, 2011 (Docket Entry (“DE”) 195), and for the reasons stated therein. It

              is ORDERED that:

                     Plaintiff Granite Southlands Center, LLC (“Plaintiff”) is entitled to receive the
                     full sum of the Estoppel Holdback at dispute in the litigation (the “Cash
                     Funds”)—to wit $650,000 in earnest money placed in escrow with Land Title
                     Guaranty Co. (the “Escrow Agent”)—plus accrued interest, and minus the sum
                     of the registry fee.

                     The Escrow Agent who has interpleaded the Cash Funds with the Court is thus
                     obligated to deliver the Cash Funds to Granite. The Escrow Agent, however,
                     may file its own motion for fees and costs pursuant to the Order entered on
                     December 7, 2010 (DE 153).

                     The Escrow Agent, as a nominal defendant who is acting as the Escrow Agent
                     for the subject funds and, pursuant to the Escrow Agreement, is merely
                     awaiting to disburse Cash Funds in accordance with the final order, judgment or
                     decree of any court of competent jurisdiction which may be filed, entered, or
                     issued, is thus dismissed as a party in this case.

                     Plaintiff is also entitled to recover its reasonable and actual attorney’s fees,
                     expenses and cost pursuant to paragraph 12 of the Escrow Agreement and D.C.
                     COLO.LocalCiv.R 54.1.

                     SO ORDERED.

              DATED:        September 13, 2011                    __________/s/____________
                            Brooklyn, New York                     Sterling Johnson, Jr. U.S.D.J.




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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

   Civil Action No. 09-CV-00799-ZLW-KLM

   GRANITE SOUTHLANDS TOWN CENTER, LLC,

         Plaintiff,

   v.

   ALBERTA TOWN CENTER, LLC, and
   LAND TITLE GUARANTEE COMPANY,

        Defendants.
   _____________________________________________________________________

                              FINAL JUDGMENT
   _____________________________________________________________________

         This Final Judgment is entered pursuant to and in accordance with Fed. R. Civ.

   P. 58(a) and the orders entered Senior Judges Zita L. Weinshienk and Sterling

   Johnson, Jr.

         Pursuant to and in accordance with the Order Granting Stipulated Motion for

   Leave to Interplead Funds (Doc. 153) entered by Judge Weinshienk on December 7,

   2010, incorporated herein by reference, it is

         ORDERED:

         I.       Pursuant to and in accordance with the Order Re: Defendant Alberta

   Town Center, LLC’s Unopposed Motion Pursuant to Fed. R. Civ. P. 41 to Dismiss

   Without Prejudice Its Counterclaims Against Plaintiff (Doc. No. 180) entered by Judge

   Johnson on February 14, 2011, it is

         ORDERED that Defendant Alberta Town Center, LLC’s Unopposed Motion


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   Pursuant to Fed. R. Civ. P. 41 to Dismiss Without Prejudice Its Counterclaims Against

   Plaintiff is granted.

          II.     The case proceeded to a bench trial before Judge Johnson on February

   14, 2011.

          III.    Pursuant to and in accordance with the Memorandum and Order (Doc.

   195) entered by Judge Johnson on September 2, 2011, it is

          ORDERED that FINAL JUDGMENT is hereby entered in favor of Plaintiff Granite

   Southlands Center, LLC on its breach of contract claim and against Defendant Alberta

   Town Center, LLC.

          IV.     Pursuant to and in accordance with the September 13, 2011 Addendum

   (Doc. 197) to the Court’s Memorandum and Order (Doc. 195) entered by Judge

   Johnson on September 2, 2011, it is

          ORDERED that

          A.      Plaintiff Granite Southlands Center, LLC (“Plaintiff”) is entitled to receive

                  the full sum of the Estoppel Holdback at dispute in the litigation (the “Cash

                  Funds”)—to wit $650,000 in earnest money placed in escrow with Land

                  Title Guaranty Co. (the “Escrow Agent”)—plus accrued interest, and minus

                  the sum of the registry fee.

          B.      The Escrow Agent who interpleaded the Cash Funds with the Court is

                  thus obligated to deliver the Cash Funds to Granite. The Escrow Agent,

                  however, may file its own motion for fees and costs pursuant to the Order

                  entered on December 7, 2010 (Doc. 153).


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         C.    The Escrow Agent, as a nominal defendant who is acting as the Escrow

               Agent for the subject funds and, pursuant to the Escrow Agreement, is

               merely awaiting to disburse Cash Funds in accordance with the final

               order, judgment or decree of any court of competent jurisdiction which

               may be filed, entered, or issued, and is thus dismissed as a party in this

               case.

         D.    Plaintiff is also entitled to recover its reasonable and actual attorney’s

               fees, expenses and costs pursuant to paragraph 12 of the Escrow

               Agreement and D.C.COLO.LCivR 54.1.


         DATED at Denver, Colorado this 13th day of September, 2011.

                                                   FOR THE COURT:

                                                   GREGORY C. LANGHAM, CLERK



                                                   s/ Edward P. Butler
                                                   Edward P. Butler,
                                                   Deputy Clerk




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                              IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLORADO

  Civil Action No. 09-CV-00799-ZLW-KLM (SJ)

  GRANITE SOUTHLANDS TOWN CENTER LLC,
            Plaintiff,

  v.

  ALBERTA TOWN CENTER, LLC, and
  LAND TITLE GUARANTEE COMPANY,
             Defendants.


               PLAINTIFF’S MOTION FOR ATTORNEYS’ FEES AND EXPENSES


            Pursuant to Fed. R. Civ. P. 54 and the parties’ agreement, Plaintiff Granite Southlands

  Town Center LLC (“Granite”), as the prevailing party, files this Motion for Attorneys’ Fees to

  recover from Defendant Alberta Town Center, LLC (“Alberta”) the attorneys' fees and expenses

  Granite incurred in direct relation to the claims which were the subject of the February 2011

  trial.1

  I.        SUMMARY OF MOTION

            As the prevailing party, Granite is entitled to its legal fees and expenses and therefore

  requests an order requiring Alberta to pay legal fees and expenses in the amount of $685,925.12.

  This amount is limited to the fees and expenses Granite incurred in relation to the Escrow

  Claims, which were the claims tried to this Court in February 2011. This figure and motion to do

  not include fees and expenses Granite incurred in relation to other disputes and claims between

  the parties.

  1
     Granite is filing a separate Bill of Costs on the Court's form pursuant to D.C.COLO.LCivR 54.1 by which Granite
  will request an award of its costs. Consequently, Granite's request for expenses in this motion is limited to those
  items not covered by the local rule on costs.


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           The following table summarizes how Granite arrived at the $685,925.12 figure for

  attorneys’ fees and expenses:

                           HOURS              AVERAGE RATE                      TOTAL

   FEES ALREADY
     INVOICED                1497.90                  $385.27                   $580,403.32

        EXPENSES
        ALREADY
        INVOICED                  N/A                     N/A                     $54,642.80

    FEES NOT YET
      INVOICED                109.50                  $355.06                     $38,879.00

     ESTIMATE OF
     FUTURE FEES                  30.0                $400.00                     $12,000.00

                                                       TOTAL                    $685,925.12


           These figures are fully supported by affidavits attesting to the reasonableness of the

  underlying services, rates, fees, and expenses, along with invoices that provide a detailed

  description of the services provided. A more detailed summary of hours worked and fees

  charged is provided on Addendum B-1, which is part of the affidavit of Paul Trahan attached

  hereto as Exhibit B ("Trahan Affidavit").

  II.      AS PREVAILING PARTY, GRANITE IS ENTITLED TO THE ATTORNEYS’
           FEES AND EXPENSES INCURRED IN RELATION TO THE ESCROW CLAIMS

           Pursuant to the Final Judgment issued by the Deputy Clerk of this Court on September

  13, 2011, Granite prevailed in this litigation. See Final Judgment (Docket #198). Alberta and

  Granite agreed, as part of the Escrow Agreement, that the prevailing party in any dispute arising

  from the Escrow Agreement is entitled to recover from the non-prevailing party its reasonable



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  and actual attorneys’ fees and expenses, including those incurred in connection with any appeal.

  See Plaintiff Trial Exhibit No. 20 (Escrow Agreement). Paragraph 12 of the Escrow Agreement

  reads:

                  12.     Attorneys' Fees. The prevailing party in any dispute arising from
                  this [Escrow] Agreement shall be entitled to recover from the non-
                  prevailing party its reasonable and actual attorneys' fees and expenses,
                  including any incurred in connection with any appeal.

           The claims that were tried to this Court in February 2011, and on which Granite

  prevailed, arise from the Escrow Agreement ("Escrow Claims"). Granite, therefore, now is

  entitled to recover from Alberta the attorneys' fees and expenses it incurred in relation to the

  Escrow Claims. The only issue is what amount of attorneys' fees and expenses is proper.

  III.     STANDARD FOR AWARDING ATTORNEYS' FEES & EXPENSES

           A.     Legal Standard

           In diversity cases, attorney fee awards are “a substantive matter controlled by state law.”

  Combs v. Shelter Mut. Ins. Co., 551 F.3d 991, 1001 (10th Cir. 2008). To determine a reasonable

  attorneys’ fee, courts arrive at a “lodestar” figure by multiplying the hours counsel reasonable

  expends on litigation by a reasonable hourly rate. E.g., Case v. Unified Sch. Dist. No. 233, 157

  F.3d 1243, 1249 (10th Cir. 1998); Dubray v. Intertribal Bison Coop., 192 P.3d 604, 608 (Colo.

  Ct. App. 2008) (“The initial estimate of a reasonable attorney fee is reached by calculating the

  ‘lodestar’ amount, which represents the number of hours reasonably expended multiplied by a

  reasonable hourly rate.”); see also 10 Moore’s Federal Practice § 54.190(2)(a)(i) (Matthew

  Bender 3d ed.). Once calculated, “[a] claimant is entitled to the presumption that this lodestar

  amount reflects a ‘reasonable’ fee.” Degrado v. Jefferson Pilot Financial Ins. Co., No. 02-cv-

  01533-WYD-BNB, 2009 WL 1973501 at *6 (D. Colo., July 6, 2009) (quoting Robinson v. City


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  of Edmond, 160 F.3d 1275, 1283 (10th Cir. 1998). Additionally, an attorney fee award may

  include fees expended to prepare and present the motion for attorneys’ fees (i.e., “fees on fees”).

  See Mares v. Credit Bureau of Raton, 801 F.2d 1197, 1205 (10th Cir. 1986).

           When “reasonable” is undefined for an attorney award, Colorado courts may also

  determine reasonableness according to the factors listed in Rule 1.5 of the Colorado Rules of

  Professional Conduct [hereinafter “RPC 1.5”]. See Deitz v. University of Denver, 2011 U.S.

  Dist. LEXIS 22728, *37 (D. Colo. Feb. 22, 2011). Thus, courts may adjust the lodestar amount

  up or down based on the RPC factors.2 See Tallitsch v. Child Support Services, Inc., 926 P.2d

  143, 146 (Colo. App. 1996) (citing Spensieri v. Farmers Alliance Mutual Ins. Co., 840 P.2d 268

  (Colo. App. 1990)).           As noted, however, the lodestar carries a “strong presumption of

  reasonableness” in Colorado courts, and “many of [the Rule 1.5] factors will be reflected in the

  lodestar amount. . . . No adjustments should be made if the lodestar amount already reflects these

  considerations.” Spensieri v. Farmers Alliance Mut. Ins. Co., 840 P.2d 268, 271 (Colo. App.

  1990).

           In determining reasonableness, courts will consider whether prevailing counsel has

  exercised “billing judgment.” Case, 157 F.3d at 1258. The touchstone of billing judgment is

  whether “the tasks sought to be charged to the adverse party would normally be billed to a

  paying client.” Ramos v. Lamm, 713 F.2d 546, 554 (10th Cir. 1983) overruled in part on other

  2
    Colo. RPC 1.5 enumerates the factors to be considered as guides in determining the reasonableness of a fee: “(1)
  The time and labor required, the novelty and difficulty of the questions involved, and the skill requisite to perform
  the legal service properly. (2) The likelihood, if apparent to the client, that the acceptance of the particular
  employment will preclude other employment by the lawyer. (3) The fee customarily charged in the locality for
  similar legal services. (4) The amount involved and the results obtained. (5) The time limitations imposed by the
  client or by the circumstances. (6) the nature and length of the professional relationship with the client. (7) The
  experience, reputation, and ability of the lawyer or lawyers performing the services. (8) Whether the fee is fixed or
  contingent.” Mau v. E.P.H. Corp., 638 P.2d 777, 779 (Colo. 1981) (citing C.R.C.P. DR 2-106(b), which is now
  Colo. RPC 1.5).


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  grounds by Pennsylvania v. Del. Valley Citizens' Council for Clean Air, 483 U.S. 711, 725

  (1987). All of the fees and expenses that Granite seeks in this motion have either been billed to

  the client or were incurred so recently that a bill has not yet been generated. All of the fees and

  expenses have been paid or will be paid in due course. See, Trahan Affidavit at ¶¶ 25 and 26.

             Thus, Granite, as the prevailing party, must satisfy the federal lodestar method of

  determining reasonable fees, which multiplies hours reasonably expended by the reasonable

  hourly rate, which Granite has done here. Evidence supporting an award of Granite's attorneys'

  fees, consistent with the requirements of this Court and Colorado law, is attached to this motion

  and discussed below.

             B.       Procedural Requisites

             In support of this motion, pursuant to the local rules of this Court, Granite must provide

  one or more affidavits, which it has done as attachments to this motion. See D.C.COLO.LCivR

  54.3(A). See, Trahan Affidavit and the Affidavit of Osborne J. Dykes (“Dykes Affidavit”). The

  local rules also require that this motion include, for each person for whom fees are claimed, a

  detailed description of the services rendered, the amount of time spent, the hourly rate, and the

  total amount claimed. This is consistent with Tenth Circuit law, which requires that to prove

  reasonable hours, Granite must submit “meticulous, contemporaneous time records.” See Case

  v. Unified Sch. Dist. No. 233, 157 F.3d 1243, 1249 (10th Cir. 1998). Granite's invoices for the

  Escrow Claims, attached as Exhibit A, are just such meticulous and contemporaneous time

  records. Granite does not seek to recover fees for any of the redacted portions of the invoices.3

  Also, please refer to the Affidavit of Paul Trahan, at Exhibit B, which further describes the


  3
      The redactions reflect Granite’s counsel’s segregation of fees that are unrelated to the Escrow Claims.


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  invoices and explains what adjustments were made to ensure the invoices only reflect fees and

  expenses associated with the Escrow Claims.

           Mr. Trahan's affidavit, and the affidavit of Denver attorney Osborne J. Dykes, opine as to

  the reasonableness and necessity of the fees and expenses. Mr. Dykes' affidavit is attached as

  Exhibit C. Local rules also require Granite to provide a summary of relevant qualifications and

  experience for each person for whom fees are claimed. See D.C.COLO.LCivR 54.3(B). Granite

  provides the biographies for the individuals who provided legal services in relation to the Escrow

  Claims as Exhibit D to this Motion.

  IV.      SUMMARY OF EVIDENCE

           A summary of the evidence offered in support of this motion is as follows:

           Exhibit A     Fulbright & Jaworski's Invoices for the Escrow Claims

           Exhibit B     Affidavit of Paul Trahan

                         Addendum B-1       Summary of Hours & Fees

                         Addendum B-2       Summary of Rates, Hours & Fees for Core Team

                         Addendum B-3       Summary of Rates, Hours & Fees for Document
                                            Review Team

                         Addendum B-4       Summary of Expenses (with back-up)

                         Addendum B-5       Summary of Invoices Paid & Pending

           Exhibit C     Affidavit of Jeff Dykes

                         Addendum C-1       Summary of Hours & Fees

                         Addendum C-2       The Colorado Bar Association 2008 Economics of Law
                                            Practice Survey

           Exhibit D     Biographies of Fulbright & Jaworski Attorneys




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  V.       THE LEGAL SERVICES PROVIDED TO GRANITE IN RELATION TO THE
           ESCROW CLAIMS WERE REASONABLE & NECESSARY

           A.       This Motion is Limited to Services Related to the Escrow Claims

           The attached invoices provide a detailed accounting of the services provided and actually

  billed, along with a description of the associated fees. See Exhibit A. The fees Granite seeks to

  recover are limited to those related to the Escrow Claims. Trahan Affidavit, Exhibit B, at ¶¶ 19-

  21. All remaining fees and expenses charged in connection with this lawsuit – which, at times,

  has involved other claims and defenses – have been segregated, and the related time entries and

  expense items have been subtracted from the invoice amounts. Id. Consequently, this motion

  seeks to recover attorneys’ fees only for services and expenses related directly to the Escrow

  Claims, as reflected on the attached invoices. See id.

           B.       The Legal Services Provided Were Reasonable and Necessary

           As detailed in the attached invoices attached to Granite's Motion for Attorneys' Fees, the

  services Fulbright & Jaworski L.L.P. ("Fulbright") provided and actually billed to Granite in

  relation to the Escrow Claims can be described generally as follows:

                •   investigating claims;
                •   preparing and filing pleadings and motions;
                •   preparing a settlement statement;
                •   extensive discovery and massive document review, including privilege review;
                •   responding to dispositive motions;
                •   pre-trial settlement conferences;
                •   pre-trial motions and trial preparation;
                •   presenting this matter for trial; and
                •   post-trial issues, including preparing claims for attorneys’ fees.

   See Trahan Affidavit at Exhibit B.


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           Attached as Addendum B-1 to the Trahan Affidavit is a breakdown of fees and expenses

  incurred by month with a description of the associated legal services. A detailed description of

  the legal services provided is set out in the invoices, which are attached as Exhibit A to this

  motion. A condensed overview of the hours worked and legal services provided is set forth in

  the following table:

                   Escrow
     Invoice       Related       Escrow
      Date         Hours       Related Fees             General Description of Work

   04/14/2009        2.50         $1,147.50 Initial investigation of claims, assess and prepare
                                            demands to Land Title

   05/11/2009        41.15       $16,939.65 Pursue Settlement, Continued investigation,
                                            research claims, prepare complaint, confer with
                                            opposing counsel

   06/12/2009        16.35        $6,234.33 Research remedies, confer with Land Title,
                                            prepare report to client, review answer &
                                            counterclaims, prepare summary of agreements
                                            and timeline

   07/09/2009        18.95        $7,564.58 Confer with opposing counsel, address scheduling
                                            issues, legal research, prepare settlement statement
                                            for magistrate

   08/12/2009        19.65        $7,132.99 Initial disclosures, Pretrial Order, Settlement
                                            Statement, Confer with Land Title, Scheduling
                                            Hearing, Assess Defendants' Disclosures, Confer
                                            on Disclosures

   09/09/2009        1.80           $663.00 Assess Status & Discovery

   09/09/2009        0.80           $406.30 Protective Order, Confer with Opposing Counsel

   10/08/2009        38.40       $10,110.75 Protective Order Assessment, Motion, Discussions
                                            & Hearing, Settlement Assessment, Document
                                            Production

   11/11/2009        5.70         $1,742.92 Assess Status & Discovery



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                Escrow
     Invoice    Related     Escrow
      Date      Hours     Related Fees            General Description of Work

   12/11/2009    0.60         $181.08 Prepare Discovery

   01/12/2010    84.50      $29,259.98 Assess & Respond to Alberta Summary Judgment,
                                       Interview Witnesses, Review Discovery Requests,
                                       Confer w/ Opposing Counsel re: Discovery
                                       Disputes, Prepare Summary Judgment Response
                                       w/ Evidence

   02/12/2010   251.20     $102,722.08 Review of Granite Documents for Production to
                                       Alberta, Review Alberta documents, Prepare for
                                       and Take Depositions, Settlement Discussions,
                                       Prepare for and Defend Depositions, Discovery
                                       Disputes, Interpleader Issues, Surreply to
                                       Summary Judgment, Mass Document Review &
                                       Production

   03/08/2010   407.70     $125,307.39 Continue Mass Document Review in Response to
                                       Alberta Discovery, Privilege Review of
                                       Documents, Take Depositions, Confer re:
                                       Discovery Disputes

   04/09/2010    64.65      $25,346.79 Take Multiple Depositions, Respond to Discovery
                                       Disputes, Prepare Multiple Witnesses for
                                       Depositions,

   05/10/2010   118.55      $52,810.71 Prepare for & Attend Settlement Conference,
                                       Prepare & Defend Depositions, Address
                                       Interpleader Issues

   06/09/2010    5.70        $2,495.17 Address Escrow Issues, Settlement Assessment

   07/12/2010    13.90       $5,880.30 Address Pretrial Order, Settlement, Escrow Funds
                                       Issues

   08/09/2010    20.80      $32,228.17 Address Pretrial Order, Exhibit & Witness Lists,
                                       Review Settlement Issues, Settlement Memo

   09/09/2010    12.40          $63.75 Assess Alberta's Motion to Expedite

   10/13/2010    12.40       $5,655.90 Prepare for & Attend Settlement Conference



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                    Escrow
      Invoice       Related        Escrow
       Date         Hours        Related Fees            General Description of Work

    11/12/2010        6.90          $2,425.05 Assess Settlement, Trial Logistics

    12/14/2010       10.90          $1,290.30 Review issues relating to Interpleader of Funds,
                                              Trial Logistics

    01/12/2011       13.50          $6,248.35 Trial Prep, Status Conference, Pretrial Matters,
                                              Motion in Limine

    02/09/2011      212.10         $15,615.35 Pretrial Motions, Amended Complaint, Prepare
                                              Exhibits, Settlement Discussions, Damages
                                              Statement, Voir Dire Questions

    03/10/2011       17.00         $95,429.07 Prepare for and Attend Trial, Review Pretrial
                                              Submissions, Exhibit Objections, Witness
                                              Outlines, Witness Preparation, Findings of Fact &
                                              Conclusions of Law, Written Closing

    04/12/2011       79.60          $8,815.94 Research Attorneys' Fees & Post-trial Issues

    05/13/2011       10.60         $12,536.22 Post-trial Issues including Review of Transcript,
                                              Revising Proposed Findings of Fact and
                                              Conclusions of Law

    05/13/2011        1.20            $418.20 Review issues relating to Attorneys' Fees claim

    06/13/2011        2.50          $1,312.50 Address Post-Trial Issues

    06/13/2011        5.90          $2,419.00 Review invoices in anticipation of Claim for
                                              Attorneys' Fees to delete unrelated fees

        Fees Not Yet Invoiced      $38,879.00 Assess Court's Ruling in favor of Granite, Begin
          (for July, August &                 Preparation of Atty. Fees Request w/ supporting
             September 2011)                  evidence & Confer w/ Land Title

       Estimate of Future Fees     $12,000.00 Pursue Atty. Fees & Collection of Judgment &
                                              Address Post-trial issues (not appeal, which will
                                              be addressed separately)




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            Importantly, as part of this process and before Granite filed suit, Granite reached out to

   Alberta’s counsel to discuss the possibility of settlement. See, Trahan Affidavit at ¶ 24.

   Granite’s counsel also facilitated direct settlement discussions between the parties. Id. Granite

   did not file the lawsuit on the Escrow Claims until settlement discussions failed. Id.

            Of particular note, responding to Alberta's expansive document requests required

   extraordinary effort and the addition of additional (less expensive) members to the team. In

   order to properly respond to Alberta's document requests, Granite was required to collect over

   200,000 documents from at least 20 sources. See, Trahan Affidavit at ¶ 10. The review of these

   documents for responsiveness and privilege was time-consuming and expensive. Id. As a result

   of its efforts, Granite produced over 15,000 pages of documents to Alberta. Id. This aspect of

   the case alone generated attorneys' fees of $165,833.73. See Addendum B-3 to Trahan Affidavit.

   As explained in further detail in the Trahan Affidavit, to account for the fact that at the time of

   document review the case involved Alberta's counterclaims in addition to the Escrow Claims,

   Granite reduced the amount for purposes of this motion by 50%, or to $82,916.86 (i.e., 50% of

   $165,833.73).

            Because the factors identified in the Colorado Rules of Professional Conduct already are

   reflected in the lodestar amount discussed above, there is no need to go through each specific

   factor. See Spensieri v. Farmers Alliance Mut. Ins. Co., 804 P.2d 268, 271 (Colo. App. 1990)

   (“No adjustments should be made if the lodestar amount already reflects these considerations.”);

   see also Burlington v. Dague, 505 U.S. 557, 562 (1992) (“There is a “strong presumption” that

   the lodestar represents the “reasonable fee.”). Nonetheless, these factors support Granite’s claim

   for attorneys' fees, as described more fully in the Trahan Affidavit.



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            C.       Granite’s Various Attorneys Served in Separate and Distinct Roles

            Granite assembled a team for the actual trial that consisted of Paul Trahan, Jeff Dykes,

   and Lucy Arnold. Partner Paul Trahan, as the attorney on the team with the most knowledge of

   the underlying facts, took the lead.       Mr. Trahan prepared and presented Granite witness

   Christopher Silva and questioned Alberta witness Peter Cudlip. Retired Partner Jeff Dykes

   provided support from Fulbright's Denver office and from a Colorado law perspective. Mr.

   Dykes prepared and presented Granite witness Angela Kralovec and cross-examined Alberta

   witness Donald Provost. Associate Lucy Arnold conducted much of the legal research and

   coordinated the preparation and assembly of evidence for trial. Mrs. Arnold also prepared for

   and questioned Land Title's witness at trial. This same team performed the post-trial work in

   terms of briefing and preparing the Proposed Findings of Fact and Conclusions of Law and

   related papers.

            Ultimately, Granite’s trial team prevailed in the litigation, recovering the entire amount in

   dispute with respect to the Escrow Claims. It is unfortunate that Granite's attempts to settle the

   dispute before filing this lawsuit were not successful, and it is unfortunate that Granite was

   forced to expend the amount of time and money it took to prevail in this action. The fact that the

   amount in dispute was less that Granite's ultimate legal fees and expenses is of no moment. The

   parties agreed that the prevailing party would receive its reasonable and actual attorneys' fees and

   expenses – irrespective of the relationship between the amount sought and the amount in dispute.

   Granite is firmly within its rights in requesting the full amount of its fees and expenses,

   irrespective of whether the amount exceeds the ultimate amount in controversy. If Alberta had

   acknowledged Granite's right to receive the escrow funds in the beginning, this lawsuit could



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   have been entirely avoided. Colorado courts have recognized that the amount of attorneys' fees

   awarded can exceed the amount of damages. See John Deere Co. v. Catalano, 525 P.2d 1153,

   1157 (Colo. 1974) (finding an attorneys’ fee award is not unreasonable because it exceeds the

   amount of the underlying deficiency judgment); Mau v. E.P.H. Corporation, 638 P.2d 777, 780

   (Colo. 1982) (“The amount recovered is only one factor to be considered in fashioning an

   appropriate fee award.”).

            In addition to the trial team, there were a number of Fulbright attorneys who provided

   services to Granite in relation to the Escrow Claims. Each of them was an important member of

   the team, and their roles and responsibilities were distinct. Involving multiple attorneys in the

   case was necessary given the amount of work required, and doing so resulted in greater

   efficiencies in the handling of the case which, in turn, translated into reduced fees. For example,

   less experienced attorneys reviewed the documents responsive to Alberta's multitude of

   document requests, and more experienced attorneys handled the trial and motions practice. As

   described in more detail in the Trahan Affidavit, Granite also relied on real estate specialists and

   attorneys in Austin, Texas – who work with Granite on a regular basis and know its business

   best, to manage and handle the more substantive and fact-intensive aspects of the case. See

   Trahan Affidavit at ¶¶ 1-10, 13 and 15.




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             The following table provides a general breakdown of the roles Granite's attorneys at

   Fulbright served in relation to the Escrow Claims:

            ATTORNEY NAMES                     PRACTICE AREA/LOCATION            RESPONSIBILITIES

   Paul Trahan, Jeff Dykes, Lucy          Litigation/Denver and Austin       Written Discovery,
   Arnold, Ben Vetter                                                        Depositions, Pre-trial,
                                                                             Trial, Motions Practice

   Jane Smith, Bryan Patrick              Real Estate/Austin                 Investigation, Real Estate
                                                                             Expertise, Knowledge of
                                                                             Property and Agreements

   Marcy Greer, Sara Wolf,                Appellate & Litigation/Austin      Legal Research &
   David Diamond                                                             Briefing, Support of
                                                                             Motions Practice

   Document Review Team4                  Junior Associates under the        Document Review
                                          supervision of Counsel Jennifer
                                          Sherrill/mostly Austin at an
                                          average rate of $266.40 per hour



   VI.       THE AMOUNT OF ATTORNEYS’ FEES IS REASONABLE

             A.       The Hours Claimed Are Reasonable

             Granite’s counsel has expended a reasonable number of hours in litigating the Escrow

   Claims. Attorneys at Fulbright have spent over 1,600 hours to date on these Claims and are

   expected to spend approximately 130 more through the conclusion of this litigation. See Trahan

   Affidavit at ¶¶ 2 and 3. Fulbright’s invoices contain meticulous, contemporaneous time records

   evidencing the services provided during these hours. See Exhibit A. Additionally, Fulbright has

   demonstrated billing judgment by providing a 15% discount since April 2009 on all fees to


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       See Addendum B-3 to Trahan Affidavit.


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   Granite. See Trahan Affidavit at ¶¶ 4 and 16. Moreover, Granite seeks to recover only those

   fees for which it has been actually billed, as reflected in Fulbright’s invoices, indicating that

   Granite’s counsel does not seek to recover amounts from an adversary that would not properly be

   billed to a client. See Hensley v. Eckerhart, 461 U.S. 424, 434, (1983) (“Hours that are not

   properly billed to one's client also are not properly billed to one's adversary . . .”). Finally,

   attempting to err on the side of being conservative (from Alberta's perspective), hours and fees

   incurred in responding to Alberta’s document requests have been reduced by 50%, even though

   much of the time written-off likely relates to the Escrow Claims. See Trahan Affidavit at

   ¶ 13(b).

            B.     The Hourly Rates Claimed are Reasonable

            Courts determine the lodestar reasonable rate by looking to the “prevailing market rate in

   the relevant community.” Wirtz v. Kansas Farm Bureau Services, Inc., 355 F. Supp. 2d 1190,

   1200 (D. Kan. 2005) (quoting Blum v. Stenson, 465 U.S. 886, 895 (1984)). “Regarding the

   hourly rates charged, the Court should base its award on market evidence of attorney billing rates

   for similar litigation.” Casey v. Williams Production RMT Co., 599 F.Supp.2d 1253, 1255 (D.

   Colo., 2009).     In addition, when hiring out-of-town counsel is reasonable under the

   circumstances, courts have found that the prevailing rates of another locality may be considered

   along with the local district’s rates. See, e.g., Chrapliwy v. Uniroyal, Inc., 670 F.2d 760, 769

   (7th Cir. 1982) (finding that where out-of-town counsel was required, trial court erred as a matter

   of law in limiting the hourly rates to local rates); Hadix v. Johnson, 65 F.3d 532, 535 (6th Cir.

   1995).




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            Because the attorneys with the most knowledge of Granite’s business and the facts

   underlying the Escrow Claims are located in Austin, Texas, it was reasonable for Granite to

   engage Fulbright’s out-of-town attorneys to litigate the Escrow Claims. See Trahan Affidavit at

   ¶ 15. In so doing, Granite obtained the benefit of attorneys who could serve in separate and

   distinct roles, and who brought skills and familiarity that were well-suited to this lawsuit. Id.

   Granite further avoided the need to educate a new group of attorneys about its business and,

   more particularly, the property, transaction, and agreements at issue regarding the Escrow

   Claims. Id. Paul Trahan attests that the hourly rates charged by the Austin attorneys were in line

   with rates charged by other attorneys in the Austin area with similar experience, education, and

   for matters of this nature. Id at ¶¶ 16, 17 and 18. Further support for the reasonableness of

   hourly rates is provide by the biography of each timekeeper, which serve as indicia of experience

   and skill. See Exhibit D.

            Even so, the rates charged to Granite are reasonable when compared to rates charged for

   similar services by attorneys with similar skill and experience in Denver, Colorado. See Dykes

   Affidavit at Exhibit C. Mr. Dykes attests to the reasonableness of the rates, stating that none of

   the hourly rates billed by Fulbright’s attorneys exceed the ranges of rates for similar-sized firms

   reported in The Colorado Bar Association 2008 Economics of Law Practice Survey. See Dykes

   Affidavit and Addendum C-2.

            Granite also refers to Addendum B-5 to the Trahan Affidavit as further evidence of the

   reasonableness of the fees Granite incurred in relation to the Escrow Claims. This summary was

   prepared by Fulbright's accounting department at Mr. Trahan's request. See Trahan Affidavit at

   ¶¶ 25 and 26. Fulbright has billed Granite for all of the fees and expenditures incurred in the



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   course of its representation in this litigation through June 2011. Id. As to the Escrow Claims,

   Granite has paid $528,237.13 of the amounts invoiced by Fulbright. See Id. and Addendum B-5.

   Based on the timing of Granite's past payments in relation to this lawsuit and other matters,

   Granite will pay the remaining $106,808.99 in full. Id.

            C.     The Expenses Claimed are Reasonable

            Expenses that are normally itemized and billed in addition to the hourly rate – but not

   taxable as part of a Bill of Costs under 28 U.S.C. §1920 – may also be included in fee

   allowances. See Fed. R. Civ. P. 54(d)(2), Ramos, 713 F.2d at 559; Case, 157 F.3d at 1258. A

   summary of legal expenses is attached as Addendum B-4 to the Trahan Affidavit.                These

   recoverable expenses include Westlaw fees, faxes, copies, FedEx expenses, postage charges, fees

   paid to investigative services, attorney travel costs, paralegal fees, and long-distance phone calls,

   among others. See Ramos, 713 F.2d at 559; Case, 157 F.3d at 1258. Here, Granite seeks to

   recover for such costs, including long-distance telephone costs, facsimile costs, Westlaw and

   Lexis fees, delivery and messenger services, travel expenses, and data management fees. Such

   fees are not absorbed as part of Fulbright’s overhead and are routinely billed to private clients, as

   evidenced by the invoices attached as Exhibit A. See also Trahan Affidavit at ¶¶ 22 and 23.

   VII.     CONCLUSION

            Granite’s counsel has gone through a careful review and assessment of the actual legal

   fees it has charged, or will soon invoice, Granite to ensure that the fees requested here relate only

   to the Escrow Claims. The hours worked and the rates charged are reasonable and were

   necessary for this matter. Granite respectfully requests that the Court award Granite legal fees

   and expenses in the amount of $685,925.12 and enter the appropriate order requiring Alberta to



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   pay this amount to Granite. Granite also asks for all other and further relief to which it is entitled

   and specifically reserves its right to secure attorneys' fees and expenses for any appeal.

                                                  Respectfully submitted,



                                                  /s/ Paul Trahan
                                                  OSBORNE J. DYKES, III
                                                  BENJAMIN M. VETTER
                                                  FULBRIGHT & JAWORSKI L.L.P.
                                                  370 Seventeenth Street, Suite 2150
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                                                  ptrahan@fulbright.com

                                                  COUNSEL FOR PLAINTIFF




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                                 UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLORADO
                                CERTIFICATE OF SERVICE (CM/ECF)

            I hereby certify that on the 19th day of September, 2011, I electronically filed the

   foregoing with the Clerk of Court using the CM/ECF system which will send notification of such

   filing to attorneys for plaintiffs at the following e-mail addresses:

                  Stephen L. Waters                  swaters@rwolaw.com
                  Kimberly A. Bruetsch               kbruetsch@rwolaw.com
                  ROBINSON WATERS & O’DORISIO, P.C.
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                  Attorneys for Alberta Town Center, LLC


                                                            /s/ Paul Trahan
                                                            Paul Trahan




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